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                                                                               September 1, 2021
VIA ECF
The Honorable Paul G. Gardephe
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

                       Re:    Calcano v. Twig New York, LLC,
                              Case No.: 1:21-cv-6974
Dear Judge Gardephe,

        The undersigned represents Evelina Calcano, (“Plaintiff”) in the above referenced matter
against Defendant, Twig New York, LLC, (“Defendant”) (collectively the “Parties”). We write,
with Defendant’s consent to inform the Court that the Parties have reached a settlement in
principle and respectfully request that Your Honor dismiss this action with prejudice with the
right to reopen in forty-five (45) days if the Settlement Agreement is not consummated. In light
of the anticipated settlement, the undersigned respectfully requests all currently pending
deadlines in this action be adjourned sine die.

       We thank the Court for its time and attention in this matter.

                                                                          Respectfully submitted,
                                                                       /s/Michael A. LaBollita, Esq.
                                                                          Michael A. LaBollita, Esq.



cc: All counsel of record via ECF
